                                                Case 5:12-cv-00630-LHK Document 733 Filed 08/14/13 Page 1 of 1

                                                                                                                                                                                                                    .Clear Form

  UNITED STATES DISTRICT COURT                                                                          TRANSCRIPT ORDER                                                                             COURT USE ONLY
 NORTHERN DISTRICT OF CALIFORNIA                                                               Please use one form per court reporter.                                                                 DUE DATE:
            CAND 435                                                                                     oourieelplease we Form 014R4
              (CAN D Rev. 03/2013)
                                                                                               Please read instructions on next page.

1. NAME

Victoria F. Maroulis
4. MAILING ADDRESS:
                          555 Twin Dolphin Drive, 5th Fl.
                                                                                                      2. PHONE NUMBER

                                                                                                      (650) 801-5022
                                                                                                      5. CASE NAME
                                                                                                                                          1   3. EMAIL ADDRESS

                                                                                                                                              victoriarnaroulis©quinnemanuel.c
                                                                                                                                                                                                         4. TODAY'S DATE

                                                                                                                                                                                                         08/14/2013
                                                                                                                                                                                                         6. CASE NUMBER

                          Redwood Shores, CA 94065                                                    Apple v. Samsung                                                                                    12-CV-000630
                                                                                                      8. THIS TRANSCRIPT ORDER IS FOR:

7. COURT REPORTER NAME ( FOR FTR, LEAVE BLANK AND CHECK BOX)-4 0 FTR                                  0 APPEAL           0 CRIMINAL             Din forma pauperis (NOTE: Court order for transcripts must be attached)

Lee-Anne Shortridge                                                                                     NON-APPEAL       7 CIVIL                • CJA: Do not use this form; use Form CJA24


9. TRANSCRIPT(S) REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested), format(s) & quantity and delivery type:


 a.          HEARING(S) (OR PORTIONS OF HEARINGS)                                      b.              SELECT FORMAT(S) (NOTE: ECFaccess is included                 c.         DELIVERY TYPE (Choose one per line)
                                                                                                       with purchase of PDF, te)ct, paper or condensed.)


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                      (initials)                 specify portion (e.g witness ortme)        (email)          (email)                   (email)          (web)        (30-day)              (7-day)    (Next day)    (2 hm)


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10. ORDER & CERTIFICATION (11. & 12.) By signing below, I certify that I will pay all charges (deposit plus additional).
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11. SIGNATURE                                                                                                                  12. DATE
                    /s/ Victoria Maroulis                                                                                                             08/14/2013
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